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                 NOT SCHEDULED FOR ORAL ARGUMENT

              IN THE UNITED STATES COURT OF APPEALS
                        FOR THE D.C. CIRCUIT

AMERICAN WATER WORKS
ASSOCIATION, et al.,

              Petitioners,

       v.                                                Case No. 24-1188 and consolidated
                                                         cases
U.S. ENVIRONMENTAL PROTECTION
AGENCY and LEE M. ZELDIN, Administrator
of the U.S. Environmental Protection Agency,

              Respondents.

            UNOPPOSED MOTION TO CONTINUE ABEYANCE

      Respondents United States Environmental Protection Agency and

Administrator Lee M. Zeldin (“EPA”) respectfully move the Court to continue to

hold this matter in abeyance for an additional 45 days while the United States

determines the most appropriate course of action for this litigation in light of

EPA’s decision to reconsider portions of the challenged rule.

      Counsel for EPA conferred with counsel for the other parties in these

consolidated cases regarding this motion. Petitioners in Case Numbers 24-1191

(National Association of Manufacturers and American Chemistry Council) and 24-

1192 (The Chemours Company FC, LLC) represented that they consent to EPA’s

request for a 45-day extension of the current abeyance. Petitioners in Case
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Number 24-1188 (American Water Works Association and Association of

Metropolitan Water Agencies) and Respondent-Intervenors represented that they

do not oppose EPA’s request for a 45-day extension of the current abeyance, but

that they reserve their rights to oppose further extensions of the abeyance and to

move to lift the abeyance (including during the 45-day extension period, if

necessary to protect their interests).

      In support of this motion, EPA states as follows:

      1.     Petitioners seek review of an EPA action entitled, “PFAS National

Primary Drinking Water Regulation,” 89 Fed. Reg. 32532 (April 26, 2024)

(“Rule”). The Rule establishes National Primary Drinking Water Regulations for

PFOS and PFOA, two contaminants in a class of compounds known as per- and

polyfluoroalkyl substances (“PFAS”). The Rule also sets forth regulatory

determinations and establishes National Primary Drinking Water Regulations for

three additional PFAS compounds—PFHxS, PFNA, and HFPO-DA—as well as

mixtures containing two or more of PFHxS, PFNA, HFPO-DA, and/or PFBS.

      2.     Petitioners filed their opening briefs on October 7, 2024; Amici on

behalf of Petitioners filed their brief on October 29, 2024; Respondents filed their

brief on December 23, 2024; Respondent-Intervenors filed their brief on January

17, 2025; and Amici on behalf of Respondents filed their briefs on January 17,




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2025. Petitioners have not yet filed reply briefs. Oral argument has not yet been

scheduled.

      3.     On February 7, 2025, the Court granted EPA’s unopposed motion for

a 60-day abeyance of proceedings in this matter and directed EPA to file a motion

to govern future proceedings by April 8, 2025. ECF No. 2099658.

      4.     On April 8, 2025, EPA filed an unopposed motion to continue the

abeyance in this case for an additional 30 days. ECF No. 2109880. EPA reported

that the additional time was necessary for new EPA leadership to complete its

review of the issues presented by the Rule and develop its position on how to

proceed in this litigation.

      5.     The Court granted EPA’s motion to continue the abeyance on April

10, 2025, and directed EPA to file a motion to govern future proceedings by May

12, 2025. ECF No. 2110289.

      6.     On May 12, 2025, EPA filed an unopposed motion to continue the

abeyance for an additional 21 days. ECF No. 2115469. EPA reported that it was

finalizing its plans with respect to the Rule, and that additional time was needed for

the parties to consider EPA’s impending announcement and evaluate its potential

impact on the issues presented here.




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      7.     The Court granted EPA’s motion for a 21-day extension of the

abeyance on May 14, 2025, and directed EPA to file a motion to govern future

proceedings by June 4, 2025. ECF No. 2115832.

      8.     EPA announced its planned actions with respect to the challenged

Rule on May 14, 2025. See https://www.epa.gov/newsreleases/epa-announces-it-

will-keep-maximum-contaminant-levels-pfoa-pfos. In that announcement, EPA

stated that it intends to retain the Rule’s current National Primary Drinking Water

Regulations for PFOS and PFOA. Separately, EPA intends to develop a

rulemaking to provide additional time for compliance with the standards for PFOS

and PFOA, including a proposal to extend the compliance date to 2031. Id. EPA

plans to issue a proposed rule this fall and finalize this rule in the Spring of 2026.

Id. EPA also announced that it intends to rescind the Rule’s National Primary

Drinking Water Regulations for PFHxS, PFNA, HFPO-DA, and mixtures

containing two of more of those compounds and/or PFBS, and to reconsider the

regulatory determinations for those contaminants. Id.

      9.     In light of the May 14 announcement, EPA respectfully requests that

the Court continue the abeyance for an additional 45 days. EPA is still evaluating

the impact of its planned reconsideration and compliance extension proceedings on

the issues presented in this case. This evaluation has taken longer than anticipated

at the time EPA filed its last motion to govern. Additional time is necessary for


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EPA to fully evaluate these issues, develop a proposal for how to proceed in this

matter, and confer with the other parties.

      10.    No party would be prejudiced by the requested abeyance, and none

oppose this motion. Because this matter is already in abeyance, no deadlines will

be impacted by continuing the abeyance.

      11.    For these reasons, the Court should continue to hold this matter in

abeyance for an additional 45 days, with the parties’ motions to govern due at the

end of that period.

                                             Respectfully submitted,

                                             ADAM R.F. GUSTAFSON
                                              Acting Assistant Attorney General

 Of Counsel:                                 /s/ Andrew D. Knudsen
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 June 4, 2025




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                      CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f), this document contains 835 words.

      This document complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because this document has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman font.

      Finally, I certify that on June 4, 2025, I electronically filed this document

with the Court’s CM/ECF system, which will serve each party’s counsel of record.




                                                     /s/ Andrew D. Knudsen
                                                     ANDREW D. KNUDSEN




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